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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION

DESIRAE HALL, ON BEHALF OF
HERSELF AND THOSE
SIMILARLY SITUATED,
          SITUATED,
                                         CASE NO.: 3:14-
                                                   3:14-CV-
                                                        CV-78-
                                                           78-TCB
      Plaintiff,
      Plaintiff,

vs.

SPECTRUM HABILITATION
SERVICES, INC., A GEORGIA
PROFIT CORPORATION, AND
REGINALD SMITH,
INDIVIDUALLY,
INDIVIDUALLY,

      Defendants
      Defendants.                   /

      NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Plaintiff, DESIRAE HALL, pursuant to Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, files her Voluntary Notice of Dismissal

without Prejudice.

      Dated this 3rd day of September, 2014.



                                        /s/ C. RYAN MORGAN
                                        C. Ryan Morgan, Esquire
                                        GBN 711884
                                        Morgan & Morgan, P.A.
                                        20 N. Orange Ave., 16th Floor
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                                     Attorneys for Plaintiff


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the above and foregoing has been served via

U.S. Mail Delivery to: Spectrum Habilitation Services c/o Reginald Smith,

Registered Agent, 110 Habersham Drive, Fayetteville, Georgia 30214 this 3rd

day of September 2014.



                                     /s/ C. RYAN MORGAN
                                     C. Ryan Morgan
